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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

UNITED STATES OF AMERICA and                   )
THE STATE OF GEORGIA                           )
ex rel. BETTY RINER                            )
                                               )
      Plaintiffs,                              )
                                               )
v.                                             )    Civil Case No:
                                               )    1:19-cv-4316-MLB
COMMUNITY HEALTH SERVICES                      )
OF GEORGIA, LLC                                )
                                               )
      Defendant.                               )

RELATOR’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION
                       TO STRIKE

      Relator Riner’s First Amended Complaint (“Complaint”) alleges that

Defendant violated the False Claims Act (FCA) and Georgia False Medicaid

Claims Act (GFMCA), and it alleges facts that support those legal claims.

Defendant asks the Court to strike some of these factual allegations pursuant to

Federal Rule of Civil Procedure 12(f), a motion that, as explained below, courts

within the Eleventh Circuit have described as a “time waster” that should only be

granted when “the pleading to be stricken has no possible relation to the

controversy.” That is not the case here.

      Defendant seeks to exclude Paragraphs 10 through 14 of the Complaint,


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which allege details about Defendant’s past controversy with Medicare and

Medicaid, revenues, and political donations, and Paragraphs 73 through 89, which

allege details about some of Defendant’s FCA and GFMCA violations during the

COVID-19 pandemic, including that Defendant finally instructed its personnel “to

limit patient visits to those that were ‘medically necessary,’ which is the standard

that should govern all visits, pandemic or not.” Doc. 49 at 2; Doc. 44 ¶¶ 10-14, 73-

89. These factual allegations do not bear “no possible relation to” the

controversies at issue in this case, because they are relevant to Relator Riner’s

allegations, particularly her allegations of Defendant’s control of various entities

and people at issue in this case and her allegations of Defendant’s violation of the

FCA and GFMCA by submitting and receiving claims for reimbursement from the

Government for services that were not provided, were not provided as submitted,

and/or were not medically necessary. See generally Doc. 44. The Motion to Strike

should be denied.1

                                   ARGUMENT

I.    Defendant cannot meet the standard required to strike allegations of the
1
  Relator Riner notes that, in its Motion to Dismiss, Defendant argues that the
Complaint “is replete with conclusory, vague, and immaterial facts,” citing this
Motion to Strike for support of that contention. Doc. 48-1 at 6-7. But the Motion
to Strike only challenges 22 out of 204 paragraphs of the Complaint—none based
on the contention that the facts alleged are “conclusory” or “vague,” terms which
do not appear at all in the Motion to Strike. See generally Doc. 49-1.

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      Complaint

      Motions to strike a pleading pursuant to Federal Rule of Civil Procedure

12(f) are “generally viewed with disfavor” and are “often considered time

wasters.” TracFone Wireless, Inc. v. Zip Wireless Prod., Inc., 716 F. Supp. 2d

1275, 1290 (N.D. Ga. 2010) (quotation marks omitted). A motion to strike seeks

“a drastic remedy” that should not be granted unless “the pleading to be stricken

has no possible relation to the controversy.” Stephens v. Trust for Pub. Land, 479

F. Supp. 2d 1341, 1346 (N.D. Ga. 2007) (quotation marks omitted). “Moreover,

motions to strike are rarely granted absent a showing of prejudice.” Id. (citation

omitted). Courts have stated that a matter is not immaterial unless it offers “no

value in developing the issues of the case.” In re Catanella and E.F. Hutton and

Co., Inc. Sec. Litig., 583 F. Supp. 1388, 1400 (E.D. Pa. 1984) (quoting Oaks v. City

of Fairhope, Ala., 515 F. Supp. 1004, 1032 (S.D. Ala. 1981)).

II.   Paragraphs 10-14 and 73-89 of Relator’s Complaint do not bear “no
      possible relation to the controversy”

      As Defendant itself notes in its Motion to Strike, at trial Relator Riner must

prove, as to her FCA and GFMCA claims, that, among other showings, Defendant

submitted the false claims and that Defendant had knowledge that the claims were

false. Doc. 49-1 at 2. Defendant argues that it does not own, operate, or control

some of the facilities and actors at issue in this case and does not submit claims as

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to some of its actors. See, e.g., Doc. 48-1 at 10-11, 18-19. Paragraphs 10-14

cannot have “no possible relation to the controversy” because the allegations

therein demonstrate that Defendant is an entity that submits claims to the

Government for medical services and receives reimbursements on those claims.

The allegations also relate to Relator Riner’s claims because they help demonstrate

Defendant’s knowledge of the falsity of the claims, in that Defendant has had its

claims practices challenged in the past, is open about its willingness to push legal

limits, seeks to influence the process, and greatly benefits financially from its

current operations. See TracFone Wireless, 716 F. Supp. 2d at 1290 (ruling that

allegations and an exhibit attached to a complaint would not be stricken because

they “have some possible relation to the controversy, as they involve substantially

similar activity and similar parties,” while making “no finding as to the persuasive

value of the” allegations, because the inclusion of the allegations “does not warrant

the severe sanction of striking them”).

      Paragraphs 73 through 89 allege facts regarding Defendant’s practices

during the early stages of the COVID-19 pandemic. Those allegations do not have

“no possible relation to” some claims of the Complaint because Relator Riner

alleges that Defendant violated the FCA and GFMCA by submitting and receiving

claims for reimbursement from the Government for services that were not


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provided, were not provided as submitted, and/or were not medically necessary.

See generally Doc. 44. The allegations Defendant seeks to strike relate to the

services and Defendant’s instruction to limit patient visits to “medically necessary”

visits, indicating that it has not so limited its medical services previously. Medical

necessity is a minimum requirement of a valid claim for payment to Medicare and

Medicaid. Thus, allegations that Defendant changed its prior mode of operation to

limit services to only provide medically necessary services certainly does not have

“no possible relation to” the claims that Defendant generally bills the Government

for services that are not medically necessary. This instruction from Defendant

would not have been necessary if it had always followed the law.

       Those allegations further demonstrate just how far Defendant is willing to go

for financial gain at the expense of patients. Namely, they go to show that

Defendant would mischaracterize patients as skilled rather than palliative to allow

for more lucrative service provisions (Medicare and Medicaid reimbursements)

even when doing so would cut off “end of life” exceptions to COVID-19 visitation

limitations. This extreme behavior goes to motive and intent, which are relevant to

Relator Riner’s FCA and GFMCA claims.

III.   Paragraphs 10-14 and 73-89 of Relator’s Complaint are not prejudicial

       Although Defendant describes some of the paragraphs as “scandalous and


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unfairly prejudicial,” it does not explain any prejudice that Defendant suffers from

the presence of these allegations, instead arguing as to each that they are

immaterial. See generally Doc. 49-1. See Stephens, 479 F. Supp. 2d at 1346

(“Moreover, motions to strike are rarely granted absent a showing of prejudice.”

(citation omitted)). The factual allegations regarding Defendant’s previous alleged

violations of the FCA are already public, and the allegations regarding Defendant’s

actions in the early phases of the COVID-19 pandemic and as to Defendant’s

control of various interrelated entities is relevant to issues disputed in this

litigation. See Harvard v. Inch, 411 F. Supp. 3d 1220, 1233-34 (N.D. Fla. Oct. 24,

2019) (ruling that it would be inappropriate to strike allegations as “unnecessary

and inflammatory” under Rule 12(f) when the allegations related to the plaintiffs’

required showing that their conditions of confinement violated the Eighth

Amendment).

      Without contesting the truth of the allegations, Defendant argues that some

of Relator Riner’s allegations are made “solely to cast Defendant in a derogatory

light and draw unwanted inferences about an ostensible predilection to engage in

fraud,” and therefore constitute “character evidence as probative of a propensity to

act in accordance with that character trait, which violates the Federal Rules of

Evidence.” Doc. 49-1 at 7. First, Defendant claims the allegations should be


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stricken because Relator Riner made them for an improper purpose or motive, but

Defendant offers no evidence to demonstrate Relator Riner’s state of mind in this

regard. Relator Riner makes her allegations in good faith and based on her first-

hand knowledge for purposes of supporting her Complaint. Defendant has no basis

to refute that.

       Further, such an argument is entirely premature. Whether evidence

supporting these allegations is ultimately admissible is not the question at this

stage; instead, the Court must simply determine that they do not have “no possible

relation to the controversy” in order to decline to strike them from the Complaint.

See, e.g., Ellison v. St. Joseph’s/Candler Health Sys., Inc., 2017 WL 513921, at *1

(S.D. Ga. Feb. 7, 2017) (ruling that allegations and an exhibit attached to a

complaint would not be stricken because they were “potentially admissible,” and

noting that the party seeking to strike such allegations could clarify the allegations

and/or make a motion in limine later in the litigation). And, anyway, the

allegations do not constitute “character evidence” pursuant to Federal Rule of

Evidence 404(a)(1) because they do not concern “[e]vidence of a person’s

character or character trait . . . to prove that on a particular occasion the person

acted in accordance with the character or trait;” of course, Defendant and its

longstanding policies are on trial, not Defendant’s chief executive. Finally,


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Federal Rule of Evidence 404(b)(2) permits evidence of other crimes, wrongs, or

acts that constitutes “character evidence” for any other purpose, such as “motive,

opportunity, intent, preparation, plan, knowledge, identity, absence of mistake, or

lack of accident.” As discussed above, Relator Riner must prove that the false

claims were knowingly submitted, and Defendant disputes that it owns, operates,

or controls various entities and actors at issue.2 “Character evidence” otherwise

excludable would be admissible for these purposes.

IV.   Defendant cites no precedent that supports striking Paragraphs 10-14
      and 73-89 of Relator’s Complaint

      Defendant offers no legal basis to strike the challenged allegations because

those allegations do relate to the controversy, which is all that is required for

inclusion in the Complaint. Stephens, 479 F. Supp. 2d at 1346. Defendant cites no

case in which a court used Rule 12(f) to strike such extensive factual allegations

from a complaint as Defendant seeks to strike. Several of the cases Defendant

cites ruled that prayers for damages or legal claims should be stricken as legally

insufficient to succeed under any provable facts. See, e.g., Ottesen v. St. Johns

River Water Mgmt. Dist., 2015 WL 2095473, at *1-2 (M.D. Fla. May 5, 2015)

(damages); Smith v. City of Lake City, Fla., 2012 WL 4772286, at *1-2 (M.D. Fla.


2
 See, e.g., Doc. 49-1 at 6, 6 n.3 (one of many instances of Defendant contesting
Relator Riner’s allegation that it operates facilities).

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Oct. 8, 2012) (claim); Cano v. S. Fla. Donuts, Inc., 2010 WL 326052, at *1 (S.D.

Fla. Jan. 21, 2010) (affirmative defenses). Here, on the other hand, Defendant

seeks to strike factual allegations from the Complaint that, as discussed above, do

not bear “no possible relation” to Relator Riner’s claims or otherwise meet the high

standard to strike pursuant to Rule 12(f).

                                  CONCLUSION

       For the reasons discussed above, the Court should deny Defendant’s Motion

to Strike.

       Respectfully submitted this 22nd day of February, 2022.




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                     LOCAL RULE 7.1(D) CERTIFICATE

      The undersigned counsel certifies that this Brief has been prepared with one

of the font and point selections approved by the Court in Local Rule 5.1.

      This 22nd day of February, 2022.



                                      /s/ Stacey Godfrey Evans
                                      Stacey Godfrey Evans
                                      Georgia Bar No. 298555




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                          CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing RELATOR’S

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with the Clerk of Court using the EM/ECF system, which will automatically send

e-mail notification of such filing to the attorneys of record.

      This 22nd day of February, 2022.


                                        /s/ Stacey Godfrey Evans
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